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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK; et al.,

                 Plaintiffs,

         v.                                                C.A. No. 1:25-cv-00039-JJM-PAS

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                 Defendants.



                       AFFIRMATION OF MOLLY THOMAS-JENSEN

        MOLLY THOMAS-JENSEN, an attorney admitted to practice pro hac vice before this

 Court and admitted to practice before the Courts of New York, does hereby state the following

 under penalty of perjury, pursuant to 28 U.S.C. § 1746:

        1.      I am Molly Thomas-Jensen, Special Counsel and Assistant Attorney General in

 the Office of the Attorney General for the State of New York, and I appear on behalf of the State

 of New York in this action.

        2.      I submit this declaration in support of Plaintiff States’ Motion for a Preliminary

 Injunction, pursuant to Federal Rule of Civil Procedure 65. The facts set forth herein are based

 upon my personal knowledge and/or a review of the files in my possession.

        3.      I have attached hereto this affirmation, true and correct copies of publicly

 promulgated or issued documents and factual declarations, as follows:

        4.      Attached hereto as Exhibit 1 is Executive Order 14154 of January 20, 2025,

 Unleashing American Energy, 90 Fed. Reg. 8353 (Jan. 29, 2025).



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          5.    Attached hereto as Exhibit 2 is Executive Order 14151 of January 20, 2025,

 Ending Radical and Wasteful Government DEI Programs and Preferencing, 90 Fed. Reg. 8339

 (Jan. 29, 2025).

          6.    Attached hereto as Exhibit 3 is Executive Order 14159 of January 20, 2025,

 Protecting the American People Against Invasion, 90 Fed. Reg. 8443 (Jan. 29, 2025).

          7.    Attached hereto as Exhibit 4 is Executive Order 14162 of January 20, 2025,

 Putting America First in International Environmental Agreements, 90 Fed. Reg. 8455 (Jan. 30,

 2025).

          8.    Attached hereto as Exhibit 5 is Executive Order 14168 of January 20, 2025,

 Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the

 Federal Government, 90 Fed. Reg. 8615 (Jan. 30, 2025).

          9.    Attached hereto as Exhibit 6 is Executive Order 14169 of January 20, 2025,

 Reevaluating and Realigning United States Foreign Aid, 90 Fed. Reg. 8619 (Jan. 30, 2025).

          10.   Attached hereto as Exhibit 7 is Executive Order 14182 of January 24, 2025,

 Enforcing the Hyde Amendment, 90 Fed. Reg. 8751 (Jan. 31, 2025).

          11.   Attached hereto as Exhibit 8 is Executive Order 14187 of January 28, 2025,

 Protecting Children from Chemical and Surgical Mutilation, 90 Fed. Reg. 8771 (Feb. 3, 2025).

          12.   Attached hereto as Exhibit 9 is U.S. Office of Management and Budget,

 Memorandum M-25-13, “Temporary Pause of Agency Grant, Loan and Other Financial

 Assistance Programs,” from Matthew J. Vaeth, Acting Director (Jan. 27, 2025).

          13.   Attached hereto as Exhibit 10 is the White House Fact Sheet, “OMB Q&A

 Regarding Memorandum M-25-13" (Jan. 28, 2025), available at https://tinyurl.com/mrd5yar3.




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        14.    Attached hereto as Exhibit 11 is a document labeled “Instructions for Federal

 Financial Assistance Program Analysis in Support of M-25-13,” that was circulated by OMB.

        15.    Attached hereto as Exhibit 12 is U.S. Office of Management and Budget,

 Memorandum M-25-14, “Rescission of M-25-13,” from Matthew J. Vaeth, Acting Director (Jan.

 29, 2025).

        16.    Attached hereto as Exhibit 13 is U.S. Office of Management and Budget,

 Memorandum M-25-11, “Guidance regarding Section 7 of the Executive Order Unleashing

 American Energy,” from Matthew J. Vaeth, Acting Director (Jan. 21, 2025).

        17.    Attached hereto as Exhibit 14 is U.S. Environmental Protection Agency

 Memorandum, “Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding

 Action Pause,” from Gregg Treml, Acting Chief Financial Officer (Jan. 27, 2025).

        18.    Attached hereto as Exhibit 15 is U.S. Department of Energy Memorandum,

 “Cease all activities associated with DEI and CBP,” from Sara Wilson, Acting Head of

 Contracting Activity, Energy Efficiency & Renewable Energy (Jan. 27, 2025).

        19.    Attached hereto as Exhibit 16 is U.S. Department of Transportation

 Memorandum, “Implementation of Executive Orders Addressing Energy, Climate Change,

 Diversity, and Gender,” from The Secretary (Jan. 29, 2025).

        20.    Attached hereto as Exhibit 17 is U.S. Environmental Protection Agency

 Memorandum, “Update on Inflation Reduction Act and Infrastructure Investment and Jobs Act

 Funding Action Pause,” from Gregg Treml, Acting Chief Financial Officer (Feb. 4, 2025).

        21.    Attached hereto as Exhibit 18 is the Declaration of Susan Dzbanko, Deputy

 Director of the Arizona Department of Homeland Security, dated Feb. 5, 2025.




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         22.   Attached hereto as Exhibit 19 is the Declaration of Kori Kappes, Chief Financial

 Officer of the Department of Economic Security for the State of Arizona, dated Feb. 5, 2025.

         23.   Attached hereto as Exhibit 20 is the Declaration of John McCleve,

 CFO/Comptroller of the Arizona Office of the Governor, dated Feb. 5, 2025.

         24.   Attached hereto as Exhibit 21 is the Declaration of Sally Morton, Executive Vice

 President of the ASU Knowledge Enterprise at Arizona State University and a Professor in the

 ASU College of Mathematical and Statistical Sciences and the ASU College of Health Solutions,

 dated Feb. 5, 2025.

         25.   Attached hereto as Exhibit 22 is the Declaration of John F. Scott II, Director of

 the Arizona Department of Veterans’ Services, dated Feb. 5, 2025.

         26.   Attached hereto as Exhibit 23 is the Declaration of Jared Sprunger, Chief

 Financial Officer of the Arizona Department of Environmental Quality, dated Feb. 5, 2025.

         27.   Attached hereto as Exhibit 24 is the Declaration of Jeffery Tegen, Assistant

 Director of the Division of Business and Finance at the Arizona Health Care Cost Containment

 System Administration, dated Feb. 5, 2025.

         28.   Attached hereto as Exhibit 25 is the Declaration of Kristine Ward, Chief Financial

 Officer of the Arizona Department of Transportation, dated Feb. 5, 2025.

         29.   Attached hereto as Exhibit 26 is the Declaration of Nicole Witt, Assistant Director

 of Public Health Preparedness for the Arizona Department of Health Services, dated Feb. 5,

 2025.

         30.   Attached hereto as Exhibit 27 is the Declaration of Susan Jennifer Black Glennon,

 Staff Services Manager II at the California Department of Toxic Substances Control, dated Feb.

 6, 2025.



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         31.    Attached hereto as Exhibit 28 is the Declaration of Michelle Buffington, Interim

 Chief of the Fiscal Services Division of the California Air Resources Board, dated Feb. 5, 2025.

         32.    Attached hereto as Exhibit 29 is the Declaration of Nancy Farias Womack,

 Director of the California Employment Development Department, dated Feb. 5, 2025.

         33.    Attached hereto as Exhibit 30 is the Declaration of Katrina S. Hagen, Director of

 the California Department of Industrial Relations, dated Feb. 5, 2025.

         34.    Attached hereto as Exhibit 31 is the Declaration of Mary Halterman, Assistant

 Program Budget Manager of the California Department of Finance, dated Feb. 5, 2025.

         35.    Attached hereto as Exhibit 32 is the Declaration of Lindy Harrington, Assistant

 State Medicaid Director at the California Department of Health Care Services, dated Feb. 5,

 2025.

         36.    Attached hereto as Exhibit 33 is the Declaration of Brandy Hunt, Deputy Director

 of the California Department of Resources Recycling’s Administrative, Fiscal, and Information

 Technology Services Division, dated Feb. 5, 2025.

         37.    Attached hereto as Exhibit 34 is the Declaration of Jeni Kitchell, Assistant Vice

 Chancellor, Finance & Budget Administration and Controller at the California State University,

 dated Feb. 5, 2025.

         38.    Attached hereto as Exhibit 35 is the Declaration of Eric Lau, Acting Deputy

 Director of the Division of Administrative Services at the California State Water Resources

 Control Board, dated Feb. 5, 2025.

         39.    Attached hereto as Exhibit 36 is the Declaration of Yang Lee, Chief Financial

 Officer and Deputy Director of the Finance and Accounting Division of the California

 Department of Social Services, dated Feb. 5, 2025.



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        40.     Attached hereto as Exhibit 37 is the Declaration of Theresa Maldonado, Vice

 President for Research & Innovation in the University of California Office of the President,

 dated Feb. 5, 2025.

        41.     Attached hereto as Exhibit 38 is the Declaration of Jim Mangia, President and

 Chief Executive Officer of St. John’s Community Health, dated Feb. 5, 2025.

        42.     Attached hereto as Exhibit 39 is the Declaration of Mason Matthews, Chief

 Budget and Financial Officer of the County of Los Angeles, dated Feb. 5, 2025.

        43.     Attached hereto as Exhibit 40 is the Declaration of Damien Mimnaugh, Director

 of the Administrative and Financial Management Services Division of the California Energy

 Commission, dated Feb. 5, 2025.

        44.     Attached hereto as Exhibit 41 is the Declaration of Dr. Maricela Ramirez, Chief

 Education Officer of the Los Angeles County Office of Education, dated Feb. 5, 2025.

        45.     Attached hereto as Exhibit 42 is the Declaration of Sarah Rees, Ph.D., Deputy

 Executive Officer, Planning, Rule Development and Implementation at the South Coast Air

 Quality Management District, dated Feb. 5, 2025.

        46.     Attached hereto as Exhibit 43 is the Declaration of Tony Thurmond,

 Superintendent of Public Instruction for the State of California, dated Feb. 5, 2025.

        47.     Attached hereto as Exhibit 44 is the Declaration of Katie Dykes, Commissioner of

 the Connecticut Department of Energy and Environmental Protection, dated Feb. 5, 2025.

        48.     Attached hereto as Exhibit 45 is the Affidavit of Sarah Miller, Executive Director

 of City Seed, Inc., dated Feb. 5, 2025.

        49.     Attached hereto as Exhibit 46 is the Declaration of Mila Kofman, Executive

 Director of the DC Health Benefit Exchange Authority, dated Jan. 29, 2025.



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         50.    Attached hereto as Exhibit 47 is the Declaration of Rebecca Reichardt, Associate

 Deputy Secretary / Chief Operating Officer of the Delaware Department of Health and Social

 Services, dated Feb. 5, 2025.

         51.    Attached hereto as Exhibit 48 is the Declaration of Ian Kimura, Accountant at the

 Department of Land and Natural Resources, State of Hawai‘i, dated Feb. 4, 2025.

         52.    Attached hereto as Exhibit 49 is the Declaration of Leah J. Laramee, Climate

 Change Mitigation and Adaptation Coordinator for the Department of Land and Natural

 Resources, State of Hawai‘i, dated Feb. 4, 2025.

         53.    Attached hereto as Exhibit 50 is the Declaration of Vassilis L. Syrmos, Vice

 President for Research and Innovation at the University of Hawai‘i, dated Feb. 5, 2025.

         54.    Attached hereto as Exhibit 51 is the Declaration of Lance Tanaka, Accountant at

 the Department of Land and Natural Resources, State of Hawai‘i, dated Feb. 5, 2025.

         55.    Attached hereto as Exhibit 52 is the Declaration of James Tokioka, Director of the

 State of Hawai‘i Department of Business, Economic Development, and Tourism, dated Feb. 5,

 2025.

         56.    Attached hereto as Exhibit 53 is the Declaration of Emma Yuen, Acting

 Administrator of the Division of Forestry and Wildlife of the Department of Land and Natural

 Resources, State of Hawai‘i, dated Feb. 5, 2025.

         57.    Attached hereto as Exhibit 54 is the Declaration of Melissa Coultas, Chief of Staff

 of the Illinois Department of Employment Security, dated Feb. 5, 2025.

         58.    Attached hereto as Exhibit 55 is the Declaration of Heidi E. Mueller, Director of

 the Illinois Department of Children and Family Services, dated Feb. 5, 2025.




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        59.    Attached hereto as Exhibit 56 is the Declaration of Laura Roche, Chief of Staff of

 the Illinois Environmental Protection Agency, dated Feb. 6, 2025.

        60.    Attached hereto as Exhibit 57 is the Declaration of Denise Barton, Chief Deputy

 General Counsel at the University of Massachusetts, dated Feb. 5, 2025.

        61.    Attached hereto as Exhibit 58 is the Declaration of Rita P. Colucci, Vice President

 and General Counsel at Salem State University, dated Feb. 5, 2025.

        62.    Attached hereto as Exhibit 59 is the Declaration of Bonnie Heiple, Commissioner

 of the Massachusetts Department of Environmental Protection, dated Feb. 5, 2025.

        63.    Attached hereto as Exhibit 60 is the Declaration of Patrick Herron, Executive

 Director of the Mystic River Watershed Association, dated Feb. 5, 2025.

        64.    Attached hereto as Exhibit 61 is the Declaration of David Mohler, Executive

 Director of the Office of Transportation Planning at the Massachusetts Department of

 Transportation, dated Feb. 5, 2025.

        65.    Attached hereto as Exhibit 62 is the Declaration of Marie Moreira, Interim

 Executive Director of World Farmers, dated Feb. 6, 2025.

        66.    Attached hereto as Exhibit 63 is the Declaration of Kristen Porter-Utley, Provost

 and Vice President for Academic Affairs at Framingham State University, dated Feb. 4, 2025.

        67.    Attached hereto as Exhibit 64 is the Declaration of Elizabeth Mahony,

 Commissioner of the Massachusetts Department of Energy Resources, dated Feb. 6, 2025.

        68.    Attached hereto as Exhibit 65 is the Declaration of Harry Coker Jr., Acting

 Secretary of the Maryland Department of Commerce, dated Feb. 6, 2025.

        69.    Attached hereto as Exhibit 66 is the Declaration of Bruce Gartner, Executive

 Director of the Maryland Transportation Authority, dated Feb. 5, 2025.



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         70.   Attached hereto as Exhibit 67 is the Declaration of Paul G. Pinsky, Director of the

 Maryland Energy Administration, dated Feb. 6, 2025.

         71.   Attached hereto as Exhibit 68 is the Declaration of Carnitra D. White, Acting

 Secretary of the Maryland Department of Human Services, dated Feb. 5, 2025.

         72.   Attached hereto as Exhibit 69 is the Declaration of Carey M. Wright, State

 Superintendent of Schools of the Maryland State Department of Education, dated Feb. 6, 2025.

         73.   Attached hereto as Exhibit 70 is the Declaration of Portia Y. Wu, Secretary of the

 Maryland Department of Labor, dated Feb. 5, 2025.

         74.   Attached hereto as Exhibit 71 is the Declaration of Dan Burgess, Director of the

 Maine Governor’s Energy Office, dated Feb. 6, 2025.

         75.   Attached hereto as Exhibit 72 is the Declaration of Sarah Curran, Deputy

 Director, Climate Planning and Community Partnerships in the Maine Governor’s Office of

 Policy Innovation and the Future, dated Feb. 6, 2025.

         76.   Attached hereto as Exhibit 73 is the Declaration of Travis Boeskool, Deputy

 Director of the Michigan Department of Environment, Great Lakes and Energy, dated Feb. 5,

 2025.

         77.   Attached hereto as Exhibit 74 is the Declaration of Elizabeth Hertel, Director of

 the Michigan Department of Health and Human Services, dated Feb. 5, 2025.

         78.   Attached hereto as Exhibit 75 is the Declaration of Michael F. Rice, Ph.D.,

 Superintendent of Public Instruction at the Michigan Department of Education, dated Feb. 5,

 2025.




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         79.   Attached hereto as Exhibit 76 is the Declaration of Beverly Walker-Griffea,

 Ph.D., Director of the Michigan Department of Lifelong Education, Advancement and Potential

 (MiLEAP), dated Feb. 5, 2025.

         80.   Attached hereto as Exhibit 77 is the Declaration of Bradley C. Wieferich, Director

 of the Michigan Department of Transportation, dated Feb. 5, 2025.

         81.   Attached hereto as Exhibit 78 is the Declaration of Scott W. Carlson, Executive

 Director, Farmer’s Legal Action Group, dated Feb. 5, 2025.

         82.   Attached hereto as Exhibit 79 is the Declaration of Myra Kunas, Assistant

 Commissioner of Health Protection, Minnesota Department of Health, dated Feb. 6, 2025.

         83.   Attached hereto as Exhibit 80 is the Declaration of Ahna Minge, Acting

 Commissioner for Budget Services and State Budget Director at Minnesota Management and

 Budget, dated Feb. 5, 2025.

         84.   Attached hereto as Exhibit 81 is the Declaration of R.T. Rybak, President and

 Chief Executive Officer of the Minneapolis Foundation, dated Feb. 6, 2025.

         85.   Attached hereto as Exhibit 82 is the Declaration of Peter Wyckoff, Deputy

 Commissioner of Energy Resources, Minnesota Department of Commerce, dated Feb. 5, 2025.

         86.   Attached hereto as Exhibit 83 is the Declaration of Joshua Davis, Chief Financial

 Officer for the North Carolina Department of Natural and Cultural Resources, dated Feb. 5,

 2025.

         87.   Attached hereto as Exhibit 84 is the Declaration of Adrienne Kreipke, Chief

 Financial and Operations Officer for the New Jersey Department of Environmental Protection,

 dated Feb. 5, 2025.




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         88.   Attached hereto as Exhibit 85 is the Declaration of Veronique Oomen, Director of

 the Division of Clean Energy at the New Jersey Board of Public Utilities, dated Feb. 5, 2025.

         89.   Attached hereto as Exhibit 86 is the Declaration of Elizabeth Groginsky, Cabinet

 Secretary of the New Mexico Early Childhood Education and Care Department, dated Feb. 4,

 2025.

         90.   Attached hereto as Exhibit 87 is the Declaration of Emily Kaltenbach, Cabinet

 Secretary Designate for the New Mexico Aging and Long-Term Services Department, dated Feb.

 4, 2025.

         91.   Attached hereto as Exhibit 88 is the Declaration of Sarita Nair, Cabinet Secretary

 of the New Mexico Department of Workforce Solutions, dated Feb. 4, 2025.

         92.   Attached hereto as Exhibit 89 is the Declaration of Mariana D. Padilla, Secretary

 Designate of the New Mexico Public Education Department, dated Feb. 4, 2025.

         93.   Attached hereto as Exhibit 90 is the Declaration of Wayne Propst, Cabinet

 Secretary for the New Mexico Department of Finance and Administration, dated Feb. 4, 2025.

         94.   Attached hereto as Exhibit 91 is the Declaration of Drew Roybal-Chavez,

 Administrative Services Division Bureau Chief of the New Mexico Office of Broadband Access

 and Expansion, dated Feb. 4, 2025.

         95.   Attached hereto as Exhibit 92 is the Declaration of Katherine Calogero, Division

 Director of Fiscal Management for the New York State Department of Environmental

 Conservation, dated Feb. 6, 2025.

         96.   Attached hereto as Exhibit 93 is the Declaration of Melissa A. Clayton, Director

 of the Bureau of State Accounting Operations within the Office of the New York State

 Comptroller, dated Feb. 6, 2025.



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         97.    Attached hereto as Exhibit 94 is the Declaration of Scott Melvin, Executive

 Deputy Commissioner of the New York State Department of Labor, dated Feb. 5, 2025.

         98.    Attached hereto as Exhibit 95 is the Declaration of Pam Poisson, Chief Financial

 Officer of the New York State Energy Research and Development Authority, dated Feb. 5, 2025.

         99.    Attached hereto as Exhibit 96 is the Declaration of Sarah Blaney, Executive

 Director, Oklahoma Association of Conservation Districts, dated Feb. 6, 2025.

         100.   Attached hereto as Exhibit 97 is the Declaration of Matthew Davis, Policy and

 External Affairs Manager at the Oregon Department of Environmental Quality, dated Feb. 5,

 2025.

         101.   Attached hereto as Exhibit 98 is the Declaration of Dr. Ruarri James Day-Stirrat,

 Oregon State Geologist and the Executive Director of the Oregon Department of Geology and

 Mineral Industries, dated Feb. 5, 2025.

         102.   Attached hereto as Exhibit 99 is the Declaration of Erin McMahon, Director of

 the Oregon Department of Emergency Management, dated Feb. 4, 2025.

         103.   Attached hereto as Exhibit 100 is the Declaration of Kate Nass, Chief Financial

 Officer at the Oregon Department of Administrative Services, dated Feb. 5, 2025.

         104.   Attached hereto as Exhibit 101 is the Declaration of Tom Riel, Director of

 Operations at Oregon’s Higher Education Coordinating Commission, dated Feb. 4, 2025.

         105.   Attached hereto as Exhibit 102 is the Declaration of Kenneth Sanchagrin,

 Executive Director of the Oregon Criminal Justice Commission, dated Feb. 4, 2025.

         106.   Attached hereto as Exhibit 103 is the Declaration of Irem Turner, Vice President

 for Research and Innovation at Oregon State University, dated Feb. 5, 2025.




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        107.     Attached hereto as Exhibit 104 is the Declaration of Carolina Valladares, Chief

 Financial Officer at the Oregon Employment Department, dated Feb. 5, 2025.

        108.     Attached hereto as Exhibit 105 is the Declaration of Jonathan Womer, Director of

 the Rhode Island Department of Administration, dated Feb. 5, 2025.

        109.     Attached hereto as Exhibit 106 is the Declaration of Emily Cahoon-Horvath,

 Chief Financial Officer of the Rhode Island Department of Environmental Management, dated

 Feb. 6, 2025.

        110.     Attached hereto as Exhibit 107 is the Declaration of Dr. Greg Hirth, Vice

 President for Research at Brown University, dated Feb. 5, 2025.

        111.     Attached hereto as Exhibit 108 is the Declaration of Christopher Kearns, Acting

 Energy Commissioner at the Rhode Island Office of Energy Resources, dated Feb. 5, 2025.

        112.     Attached hereto as Exhibit 109 is the Declaration of Nessa Richman, Executive

 Director of the Rhode Island Food Policy Council, dated Feb. 5, 2025.

        113.     Attached hereto as Exhibit 110 is the Declaration of Lorette Picciano, Executive

 Director of the Rural Coalition, dated Feb. 6, 2025.

        114.     Attached hereto as Exhibit 111 is the Declaration of Michael S. Pieciak, State

 Treasurer of Vermont, dated Feb. 5, 2025.

        115.     Attached hereto as Exhibit 112 is the Declaration of Sarah Norris Hall, Senior

 Vice President, Finance, Planning & Budgeting and Chief Financial Office of the University of

 Washington, dated Feb. 5, 2025.

        116.     Attached hereto as Exhibit 113 is the Declaration of Heather Bartlett, Deputy

 Director of the Washington State Department of Ecology, dated Feb. 4, 2025.




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         117.   Attached hereto as Exhibit 114 is the Declaration of Leslie Anne Brunelli,

 Executive Vice President for Finance and Administration and Chief Financial Officer at

 Washington State University, dated Feb. 5, 2025.

         118.   Attached hereto as Exhibit 115 is the Declaration of Lacy Fehrenbach-

 Marosfalvy, Chief of Prevention, Safety and Health with the Washington State Department of

 Health, dated Feb. 5, 2025.

         119.   Attached hereto as Exhibit 116 is the Declaration of Jenny Heddin, Deputy

 Secretary and Chief of Staff for the Washington State Department of Children, Youth, and

 Families, dated Feb. 5, 2025.

         120.   Attached hereto as Exhibit 117 is the Declaration of Thomas J. Kelly, Chief

 Financial Officer of the Washington Office of Superintendent of Public Instruction, dated Feb. 5,

 2025.

         121.   Attached hereto as Exhibit 118 is the Declaration of Joseph-Thanh Nguyen,

 Director of the Washington State Department of Commerce, dated Feb. 5, 2025.

         122.   Attached hereto as Exhibit 119 is the Declaration of Tricia Collins, Assistant State

 Superintendent for the Wisconsin Department of Public Instruction, dated Feb. 6, 2025.

         123.   Attached hereto as Exhibit 120 is the Declaration of Dorota Grejner-Brzezinska,

 Vice Chancellor for Research at the University of Wisconsin—Madison, dated Feb. 5, 2025.

         124.   Attached hereto as Exhibit 121 is the Declaration of Joshua Smith, Senior

 Associate Vice President for Finance at the Universities of Wisconsin, dated Feb. 5, 2025.

         125.   Attached hereto as Exhibit 122 is the Declaration of Erick Scheminske, Chief

 Operating Officer of the Colorado Department of Public Health and Environment dated Feb. 5,

 2025.



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          126.     Attached hereto as Exhibit 123 is the Declaration of Will Toor, Director of the

 Colorado Energy Office dated February 5, 2025.

          127.     Attached hereto as Exhibit 124 is U.S. Department of Energy Memorandum,

 “Agency-wide Review of Program and Administrative Activities,” from Ingrid C. Kolb, Acting

 Secretary (Jan. 20, 2025).

          128.     Attached hereto as Exhibit 125 is a spreadsheet that, upon information and belief,

 was sent by the U.S. Environmental Protection Agency to grant recipients, as referenced in

 Exhibit 17.

          129.     Attached hereto as Exhibit 126 is a screenshot of a post made on the social media

 network X by Karoline Leavitt, the White House Press Secretary, on Jan. 29, 2025.

          130.     Attached hereto as Exhibit 127 is a transcript of a press briefing by Karoline

 Leavitt, the Whit House Press Secretary, on Jan. 29, 2025 (beginning 1:06 PM (EST)).



 Dated:          New York, New York
                 February 7, 2025


                                                 _____________________________________
                                                       Molly Thomas-Jensen
                                                       Special Counsel
                                                       Office of the Attorney General
                                                       New York State




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